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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                Ca$e No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

        Plaintiff,
 vs.

  PRINCESS CRUISE LINES, LTD.,

    Defendant.
 ____________  ./

                     ORDER RE: DECEMBER 19, 2019 COURT SESSION

        THIS MATTER came before the Court for a status conference on October 2,

 2019. At that hearing, the Defendant requested an opportunity to address the Court

  regarding its compliance efforts beyond those that have been conveyed to the Court

 during the status conferences. Therefore, the Parties, the Court Appointed Monitor and

 the Third Party Auditor shall meet with the Court on December 19, 2019 at 10:00 a.m.,

 in Courtroom 11-4 for three hours, wherein the Defendant may make a presentation to

 the Court regarding its compliance efforts.

        The Court notes that it would be beneficial if the presentation addresses-the

 following:

              1. The Defendant's leadership's communications to ship-board and
                 shoreside employees .regarding environmental compliance as a core value
                 of the Company.         ·
                                                ,
              2. Actions the Company has taken in the past three months, and actions the
                 Company plans to take at three month intervals, from the date of this
                 Order to achieve:

                     a. A sufficient number of qualified deck, engine, and hotel crew
                        members on its ships who have the training, resources, time, and
                        support to execute their job responsibilities and meet compliance
                        obligations;
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                  b. Financial and strategic planning processes designed to provide
                     adequate resources and attention toward environmental
                     compliance, including processes to allocate resources outside of
                     the formal planning processes as needed to support compliance
                     efforts;

                  c. Processes designed to enable learning and continuous
                     improvement through the assessment of data (including incident
                     and near miss reports), internal and external findings (including
                     audits, surveys, studies, and other assessments), investigations
                     findings, and corrective and preventive actions, including processes
                     for developing and implementing responsive action plans, and
                     sharing lessons-learned and best practices; and

                  d. Processes designed to implement management·of change
                     principles when new actions are taken.

            3. The Company shall describe the actions, including reference to those
               steps identified in section 2c above, to address the following compliance
               challenges, with reference to specific incidents noted in the Company's
               Quarterly Tracking Chart filings, including:

                  a. ,Discharge of non-food items, including plastics, in food waste;
                                                                           -
                  b. Discharge of other prohibited waste streams, including air
                     emissions, ballast water, black water (sewage), garbage, grey
                     water, oil and oily wastes, and recreational water; and

                  c. lna,ccurate completion and maintenance of training records,
                     Planned Maintenance System records, and other logs and records
                     required by law or the ECP.

            4. Other efforts at environmental compliance the Company wishes to
               highlight that have not otherwise been described in the reports of the
               Court Appointed Monitor.
        r
       The Company shall submit to the CAM, TPA and Interested Parties an agenda

 and outline of topics to be discussed with the Court on or before December 2, 2019.

    On December 6, 2019, or at another date selected by the attendees, the Company

 shall meet with CAM and TPA to preview and take comments on the presentation that




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    will be made to the Court on December 19, 2019.

             DONE ANG ORDERED in Miami, Florida, this   3/~y of October, 2019.

                                    _Q>~~g:4
                                       PATRICIA A. 'SEITZ~
                                       UNITED STATES DISTRICT JUDGE




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